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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              McALLEN DIVISION

SOCRATES SHAWN                                  §
             Plaintiff,                         §      CIVIL ACTION NO.
v.                                              §
                                                §
CITY OF PROGRESSO, TEXAS;                       §
CESAR SOLIS, in his individual and official     §
Capacity; and ERNESTO LOZANO, in his            §           M – 22 – 116
Individual and official capacity                §
                     Defendants.                §


                                        ORDER


      On the _______ day of _________________, 2022 this cause came for hearing on

Defendants’ Motion for Partial Dismissal. After reviewing the pleadings, motion, and

other documents on file, and hearing the argument of counsel thereon, the Court is of the

opinion that Defendants’ Motion should be GRANTED;

      IT IS THEREFORE ORDERED, ADJUDGED and DECREED that Defendants’

Motion for Partial Dismissal is hereby GRANTED, and Plaintiff’s Fourteenth Amendment

claims are hereby dismissed with prejudice against the refiling of same.

      Signed on this ______ day of                            , 2022.



                                                       Ricardo H. Hinojosa
                                                    United States District Judge
